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                           IN THE UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                   FORT WORTH DIVISION

UNITED STATES OF AMERICA                     §
                                             §
VS.                                          §    CRIMINAL NO. 4:23-CR-0333-O(11)
                                             §
LITA D’ANN MILLS (11)                        §
A.K.A. “LITA MAY                             §

                     UNOPPOSED MOTION FOR LATE CONSIDERATION
                             OF CHARACTER LETTERS

TO THE HONORABLE JUDGE REED O’CONNOR:

        COMES NOW, Defendant LITA D’ANN MILLS, by and through her counsel, Brett

D. Boone, and moves the Court to grant late consideration of her character letters as

requested herein and in support thereof would show as follows:

                                             I.

        Defense counsel did not receive said character letters until after the deadline for

delivering same had passed. Sentencing in this matter is scheduled for Friday, April 5,

2024. Late consideration will not prejudice any party in this matter

        WHEREFORE, PREMISES CONSIDERED, Defendant prays the Court grant this

motion in all things.
                                          Respectfully submitted,
                                           /s/ Brett D. Boone
                                          BRETT D. BOONE
                                          6205 Airport Freeway
                                          Fort Worth, Texas 76117
                                          (817) 831-0100
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                                          Email: bboone@flash.net
                                          State Bar No: 02626800
                                          ATTORNEY FOR MILLS

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                               CERTIFICATE OF CONFERENCE

       On March 13, 2024, the undersigned counsel conferred with Mr. Shawn Smith,
Assistant U.S. Attorney regarding the foregoing Motion and he is unopposed.


                                          /s/ Brett D. Boone
                                          BRETT D. BOONE


                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2024, I electronically filed the foregoing document
with the clerk for the U.S. District Court, Northern District of Texas, using the electronic
case filing system of the court. The electronic case filing system sent a “Notice of
Electronic Filing” to the following attorneys of record who have consented in writing to
accept this Notice as service of this document by electronic means: Mr. Shawn Smith,
Assistant United States Attorney.

                                          /s/ Brett D. Boone
                                          BRETT D. BOONE




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